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5     Attorneys for Defendant
      SON VAN NGUYEN
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7
8                                IN THE UNITED STATES DISTRICT COURT
9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                   ) Case No. 2:99-CR-0433-06 WBS
                                                 )
12                  Plaintiff,                   ) ORDER
                                                 )
13          v.                                   )
                                                 )
14   SON VAN NGUYEN,                             )
                                                 )
15                  Defendant.                   )
16
17           Pursuant to General Order No. 563 and the provisions of the Criminal Justice Act, 18
18    U.S.C. §§ 3006A(a)(1) and (c), the Office of the Federal Defender is appointed to represent
19
      defendant SON VAN NGUYEN to determine whether he may qualify for federal habeas relief
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      under either 28 U.S.C. § 2255 or 28 U.S.C. § 2241 in light of Johnson v. United States, 135 S.Ct.
21
      2551 (2015), and to present any petitions, motions, or applications relating thereto for
22
23    disposition. Due to a conflict, the Federal Defender is relieved and attorney Krista Hart, Law

24    Offices of Krista Hart, PO Box 188794 Sacramento, CA 95818, is appointed counsel for Mr.
25    Nguyen.    IT IS SO ORDERED.
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      Dated: March 3, 2016
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